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Plaintiff and Counter-Defendant,

and

THE WAYNE COUNTY DEPARTMENT OF HEALTH,

AIR POLLUTION CONTROL DIVISION,
Plaintiff,

V.

THE STATE OF MICHIGAN,

Defendant, Counter-Plaintiff and
Cross-Plaintiff,

Vv.

THE CITY OF DETROIT, a municipal
corporation, and THE DETROIT WATER
AND SEWERAGE DEPARTMENT,

Defendants and Cross-Defendants,

Vv.

ALL COMMUNITIES AND AGENCIES UNDER
CONTRACT WITH THE CITY OF DETROIT FOR
SEWAGE TREATMENT SERVICES,

V.

THE DETROIT AREA LAUNDRY POLLUTION
CONTROL GROUP, a voluntary, non-profit,

unincorporated association, AND
ITS MEMBERS,

Vv.

THE FOOD AND ALLIED INDUSTRIES
COMMITTEE OF METROPOLITAN DETROIT,
a voluntary non-profit, unincorporated
association, AND ITS MEMBERS,

intervening Rate Challengers.

 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

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Civil Action No. )
77-71100

Hon. John Feike

WTUA’S RESPONSE TO APPOINTED
COMMITTEE’S REPORT ON THE
DEVELOPMENT OF A WATERSHED
ENTITY FOR THE ROUGE RIVER

 

 

 
    
 

 

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WTUA’S RESPONSE TO APPOINTED COMMITTEE’S REPORT ON THE DEVELOPMENT OF
A WATERSHED ENTITY FOR THE ROUGE RIVER

The Western Townships Utilities Authority ("WTUA") responds to James E.
Murray’s March 1, 1996 letter to the Honorable John Feikens, and the attachments to that
letter, which apparently refiect the progress that has been made by a committee appointed by
Judge Feikens to develop an acceptable plan of action for the development of a watershed
entity for the Rouge River in Wayne, Oakland, and Washtenaw counties.

PARTICIPATION IN DISCUSSIONS

WTUA, which is an authority consisting of Canton, Northville, and Plymouth
Townships, does not seek to be obstructive. Instead, WTUA seeks to be a constructive
participant in these proceedings and is concerned that it has had no opportunity for input
regarding the work that has been done by others. Participation of Rouge River watershed
communities is certainly necessary to achieve consensus building with respect to any
watershed entity, and may be necessary to insure that due process is provided to those
communities. WTUA assumes that there is no dispute regarding the need for expanded
discussions, as indicated by Mr. Murray’s letter, as well as Judge Feikens’ August 15, 1995
letter to counsel! of record. WTUA looks forward to participating in these expanded
discussions (on behalf of its constituent townships of Canton, Northville, and Plymouth).
WTUA simply notes its concern about lack of participation in discussions to date, and asserts
that although the appointed committee’s proposal may properly serve as a basis for further
expanded discussions, the proposal should not be implemented in any way -- at least not until

there is an opportunity for meaningful input from affected communities.
  
  

 

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CONCERNS ABOUT PROPOSAL
WTUA recognizes that the appointed committee has done a considerable amount
of work. At this time, WTUA is concerned because the regional entity concept is a significant
departure from the way stormwater has been handled in the past. Nevertheless, many
concerns may be alleviated through participation in future discussions.

WTUA is particularly concerned about how local input/representation would be
assured. The formation and maintenance of the regional entity apparently would ignore and
usurp local governance. The present proposal seems to envision county dominance and does
not insure local input. The appointed committee has proposed a representative committee,
which appears to be designed to partially address this matter. The proposal at least needs to
be clarified and refined, however. For example: (1) the Drain Code does not provide for such
an entity, so legislative action may be necessary to effectuate the desired results; (2) the
proposed representative committee’s purposes and powers are unclear (what would it vote
on; could its votes be ignored, etc.); and (3) local communities should select their own
representatives to serve on any representative committee, unlike the present proposal which
calls for representatives to be named by the Drainage Board and Augmented Drainage Board.

WTUA is also concerned about how costs of future improvements or activities
would be allocated, and whether credit would be given for improvements or benefits that have
already been achieved. Further, WTUA questions whether there might be problems in
ultimately paying for future improvements made by the regional entity. For example, concerns
were raised regarding the Headlee Amendment to the Michigan Constitution at the September
14, 1992 hearing regarding Charles Moon’s recommendation to use Section 22 of the Drain
Code as a base to create a watershed regional entity to deal with water management in the

Rouge Basin (Tr 7-20).
  
 
  

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Finally, WTUA is concerned that, under the appointed committee’s proposal, the
City of Detroit does not appear to be involved in the Drainage District, and Washtenaw
County’s involvement is unclear.

REQUEST FOR RELIEF
WTUA respectfully requests to participate in discussions regarding the potential

development of a watershed entity for the Rouge River in Wayne, Oakland, and Washtenaw

counties.
Respectfully submitted,
FOSTER, SWIFT, COLLINS & SMITH, P.C.
Attorneys for Western Townships Utilities Authority
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Dated: April 4, 1996 By: et A YS td f Lo

 

James M. Alexander (P23289)
Charles A. Barbieri (P31793)
Stephen J. Rhodes (P4011 2)

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

THE UNITED STATES OF AMERICA,

Plaintiff and Counter-Defendant, Civil Action No.
77-71100
and Hon. John Feikens

THE WAYNE COUNTY DEPARTMENT OF HEALTH,
AIR POLLUTION CONTROL DIVISION,

Plaintiff,
WTUA’S RESPONSE TO
Vv. PETITION OF CITY OF DETROIT
CONCERNING REALLOCATION OF
THE STATE OF MICHIGAN, COSTS OF THE COURT’S MONITOR,
PROFESSOR JONATHAN W. BULKLEY,
Defendant, Counter-Plaintiff and AND ALLOCATION OF COSTS OF THE
Cross-Plaintiff, COURT’S EXPERT MASTER,

CHARLES R. MOON
Vv.

THE CITY OF DETROIT, a municipal
corporation, and THE DETROIT WATER
AND SEWERAGE DEPARTMENT,

Defendants and Cross-Defendants,
Vv.
ALL COMMUNITIES AND AGENCIES UNDER

CONTRACT WITH THE CITY OF DETROIT FOR
SEWAGE TREATMENT SERVICES,

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Vv.

THE DETROIT AREA LAUNDRY POLLUTION
CONTROL GROUP, a voluntary, non-profit,
unincorporated association, AND

ITS MEMBERS,

 

  

Vv.

THE FOOD AND ALLIED INDUSTRIES
COMMITTEE OF METROPOLITAN DETROIT,
a voluntary non-profit, unincorporated
association, AND ITS MEMBERS,

Intervening Rate Challengers.

 
  
 

 

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WTUA’S RESPONSE TO PETITION OF CITY OF DETROIT
CONCERNING REALLOCATION OF COSTS OF THE COURT’S MONITOR,
PROFESSOR JONATHAN W. BULKLEY, AND ALLOCATION OF COSTS OF THE
COURT'S EXPERT MASTER, CHARLES R. MOON

The Western Townships Utilities Authority ("WWTUA") responds to the March 1,
1996 petition of City of Detroit Concerning the Reallocation of Costs of the Court’s Monitor,
Professor Jonathan W. Bulkley, and Allocation of Costs of the Court’s Expert Master, Charles
R. Moon ("Detroit’s Petition") as follows:

1. WTUA does not know what costs Detroit seeks to allocate or reallocate.
WTUA has not received a copy of Dr. Jonathan Bulkley’s bill, and Mr. Charles Moon
apparently has not generated one. Since WTUA has been a relatively inactive participant in
these proceedings, WTUA questions whether any of the costs at issue even relate to WTUA
or its constituent communities (the Townships of Canton, Northville, and Plymouth). WTUA
emphasizes that it does not object or otherwise take a position with respect to the work that
has been done by Dr. Bulkley and Mr. Moon. Instead, WTUA and its member communities
are concerned about being burdened with unknown costs relating to unknown activities.

2. WTUA is also concerned that Detroit’s proposed basis for allocating and
reallocating costs is unclear, and questions whether Detroit is actually seeking a ruling that
would extend beyond the relatively small amount of money that appears to be directly at
issue. Apparently, Detroit proposed a change in the formula that has been in place since
1989, which currently does not involve WTUA. Thus, WTUA has not concerned itself with
costs incurred by more active participants in these proceedings. It would be unfair to allocate
or reallocate costs retrospectively among non-participants at this late date. Any allocation of
costs should be prospective only, and should occur (if at all) only with a sound basis and the

participation of any affected communities.
 

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WTUA may have specific objections in the event that Detroit’s petition

moves forward and the above matters are clarified.

Dated: April 4, 1996

Respectfully submitted,

FOSTER, SWIFT, COLLINS & SMITH, P.C.
Attorneys for Western Townships Utilities Authority

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James M. Alexander (P23289)
Charles A. Barbieri (P31793)
Stephen J. Rhodes (P4011 2)

 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

THE UNITED STATES OF AMERICA,

Plaintiff and Counter-Defendant, Civil Action No.

77-71100

and Hon. John Feikens

THE WAYNE COUNTY DEPARTMENT OF HEALTH,
AIR POLLUTION CONTROL DIVISION,

Plaintiff,
CERTIFICATE OF SERVICE

Vv.
THE STATE OF MICHIGAN,

Defendant, Counter-Plaintiff and
Cross-Plaintiff,

Vv.

THE CITY OF DETROIT, a municipal

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AND SEWERAGE DEPARTMENT, “—

Defendants and Cross-Defendants,

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Vv. re
ALL COMMUNITIES AND AGENCIES UNDER

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CONTROL GROUP, a voluntary, non-profit,
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THE FOOD AND ALLIED INDUSTRIES
COMMITTEE OF METROPOLITAN DETROIT,
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Intervening Rate Challengers.

 
  
  

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CERTIFICATE OF SERVICE

On this 4th day of April, 1996, | served copies of WTUA’s Response to Appointed
Committee’s Report on the Development of a Watershed Entity for the Rouge River; WTUA’s
Response to Petition of City of Detroit Concerning Reallocation of Costs of the Court’s
Monitor, Professor Jonathan W. Bulkley, and Allocation of Costs of the Court’s Expert Master,
Charles R. Moon; and this proof of service upon all persons listed on the attached service list
by mailing same via first class mail to their respective addresses.

| declare that the above statements are true to the best of my information, knowledge

and belief.

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Karen O. Mockler

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